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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     MARTIN CALVILLO MANRIQUEZ, et                     Case No. 17-cv-07210-SK
                                         al.,
                                   8
                                                        Plaintiffs,                        ORDER REGARDING PENDING
                                   9                                                       MOTIONS
                                                 v.
                                  10
                                         ELISABETH DEVOS, et al.,                          Regarding Docket Nos. 80, 167
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On July 23, 2018, Plaintiffs filed a motion for declaration that documents were not
                                  14   privileged. (Dkt. No. 80.) On January 8, 2020, Plaintiffs filed a motion for partial reconsideration
                                  15   of sanctions. (Dkt. No. 167.) On March 13, 2023, Parties informed the Court that they had
                                  16   reached an agreement that a negotiated dismissal of this case was appropriate and that they would
                                  17   be scheduling a conference with the Court regarding a joint proposal for dismissal. (Dkt. No.
                                  18   379.) Given the notice of the agreement for dismissal, the two pending motions are HEREBY
                                  19   ORDERED MOOT.
                                  20          IT IS SO ORDERED.
                                  21   Dated: March 14, 2023
                                  22                                                   ______________________________________
                                                                                       SALLIE KIM
                                  23                                                   United States Magistrate Judge
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